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                IN THE UNITED STATES COURT OF APPEALS
                         FOR THE THIRD CIRCUIT

MICHAEL MILLER
Appellant,

v.
                                           No: 24-2934


COUNTY OF LANCASTER, ET. AL.,
Appellees.

APPELLANT’S MOTION FOR JUDICIAL INTERVENTION TO REMEDY
     PROCEDURAL IRREGULARITIES AND ENSURE TIMELY
                     ADJUDICATION


I. INTRODUCTION

Appellant Michael Miller moves this Court pursuant to Federal Rule of Appellate

Procedure 27 for judicial intervention to address systemic procedural irregularities,

enforce procedural fairness, and ensure the timely adjudication of Appellant's

constitutional claims. These irregularities include unauthorized actions by the

Clerk of Court under Local Rule 27, the Court's failure to act on pending

objections and motions for over 30 days, and continued procedural obstruction and

delays undermining the integrity of this appeal.

This motion raises not only immediate concerns regarding Appellant’s rights but

also broader issues of judicial accountability. Granting this motion will reaffirm
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the judiciary’s constitutional obligation to protect the rights of pro se litigants and

ensure the timely resolution of substantial constitutional claims.




II. RELIEF REQUESTED

Appellant moves the Court take the following actions to address the procedural

irregularities in this appeal:

   1. Vacate Unauthorized Directive:

       Retract the Clerk’s October 29, 2024 directive staying the briefing schedule

       and listing the case for summary disposition, as it violated Local Rule 27(a).

   2. Judicial Oversight:

       Assign judicial review of all pending motions and objections filed by

       Appellant, ensuring compliance with FRAP 27(b) and the judiciary’s ethical

       duties under Canon 3(A)(5).

   3. Set Deadlines:

       Establish enforceable deadlines for the Court to act on all unresolved

       motions and objections to prevent further procedural delay and harm to

       Appellant’s constitutional rights.

   4. Supervisory Mandamus:

       Exercise supervisory mandamus under 28 U.S.C. § 1651 to ensure
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       compliance with applicable procedural rules, including FRAP 27(b) and 28

       U.S.C. § 636(b)(1).




III.   LEGAL BASIS FOR RELIEF

   1. Violation of Local Rule 27(a):

       The Clerk's directive materially altered the procedural progression of this

       case without judicial authorization, exceeding the authority granted under

       Local Rule 27(a). Such an act constitutes a judicial function and must be

       treated as such under applicable law.

   2. Failure to Adhere to FRAP 27(b):

       FRAP 27(b) mandates prompt judicial action on procedural motions. The

       Court’s failure to act on Appellant’s pending motions for over 30 days

       violates this rule and undermines Appellant’s right to a fair and orderly

       appeal process.

   3. Constitutional Implications:

       The delays and irregularities in this appeal obstruct Appellant’s right to due

       process under the Fifth and Fourteenth Amendments. The Supreme Court in

       Zwickler v. Koota, 389 U.S. 241 (1967), and Steffel v. Thompson, 415 U.S.
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      452 (1974), has emphasized the judiciary’s obligation to resolve

      constitutional claims on their merits rather than through procedural evasion.

   4. Special Protections for Pro Se Litigants:

      Citing Haines v. Kerner, 404 U.S. 519 (1972), Appellant highlights the

      heightened duty of courts to ensure procedural fairness for pro se litigants.

      Procedural delays and unauthorized actions disproportionately harm pro se

      petitioners and erode public confidence in the judiciary.

   5. Supervisory Mandamus Authority:

      Under 28 U.S.C. § 1651, this Court has the authority to issue supervisory

      mandamus to enforce procedural compliance and protect Appellant’s rights.

      Mandamus is appropriate here to prevent further harm caused by delays and

      irregularities that obstruct Appellant’s access to justice.




IV.   CONCLUSION

The procedural irregularities in this case, combined with the Court’s prolonged

inaction, threaten Appellant’s ability to secure a fair and timely adjudication of

substantial constitutional claims. Appellant respectfully requests that this Court

grant this motion, vacate the Clerk’s directive, assign judicial oversight to all
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pending motions and objections, and establish enforceable deadlines to ensure

compliance with procedural and constitutional requirements.

If this Court’s current approach is consistent with binding law, then precedents

such as Zwickler v. Koota and Haines v. Kerner are effectively abandoned.

Granting this motion will reaffirm the judiciary’s role in safeguarding

constitutional rights and ensure procedural integrity in this landmark case.




Certification Regarding Concurrence

Appellant notes that concurrence of the opposing party has not been sought. This

motion seeks relief of a procedural nature directed to the Court and does not

pertain to substantive disputes between the parties. Appellant believes that seeking

concurrence under these circumstances is unnecessary and impractical.

                                                              Respectfully submitted,

                                                                    /s/ Michael Miller
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Dated: December 5, 2024
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                 IN THE UNITED STATES COURT OF APPEALS
                          FOR THE THIRD CIRCUIT

MICHAEL MILLER
Appellant,

v.
                                            No: 24-2934


COUNTY OF LANCASTER, ET. AL.,
Appellees.

                               PROPOSED ORDER


ORDER

AND NOW, this ___ day of ________, 2024, upon consideration of Appellant’s

Motion to Remedy Procedural Irregularities, Protect Constitutional Claims, and

Compel Judicial Oversight, it is hereby ORDERED:

     1. The Clerk’s October 29, 2024, directive is VACATED as exceeding

        administrative authority under Local Rule 27(a).

     2. The Court shall adjudicate all pending motions and objections no later than

        ___________, 2024.
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   3. Appellant’s constitutional right to challenge Pennsylvania’s public records

      law and County policy under the First and Fourteenth Amendments is

      recognized and affirmed.

   4. Procedural safeguards are directed to ensure future compliance with FRAP

      27(b) and Local Rule 27(a).

BY THE COURT:




Circuit Judge, Third Circuit Court of Appeals
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                         CERTIFICATE OF SERVICE

I hereby certify that I caused to be served by e-mail a true and correct copy of the

foregoing document to the following:



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